4:06-cr-03145-JMG-DLP      Doc # 81   Filed: 11/02/07   Page 1 of 1 - Page ID # 198


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )         4:06CR3145
                                         )
                  Plaintiff,             )
                                         )
      vs.                                )
                                         )         ORDER
TALLAS HARRIS,                           )
                                         )
                  Defendant.             )

        IT IS ORDERED that the defendant’s unopposed motion to continue sentencing
(filing 80) is denied.

      November 2, 2007.               BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
